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         EXHIBIT 53
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<h1>Counter Notification Requirements</h1>
<p>If you are planning to submit a free-form copyright counter notification, it must include specific
elements.&nbsp;<strong>Please include the information below in the body of your email (not in an
attachment).&nbsp;</strong></p>

<div class="alert">
 <p>Please note: We are unable to take action on incomplete counter notifications.</p>
</div>

<h3>1. Your contact information</h3>

<p>You’ll need to provide the following information that will allow us to contact you or a representative
authorized to act on your behalf (such as an attorney) regarding your request. If you are an uploader's
authorized representative, please be sure to specify your relationship to the uploader in the counter
notification.</p>

<ol>
 <li>Full legal name (a first and last name, not a company name)</li>
 <li>Email address</li>
 <li>Physical address</li>
 <li>Telephone number</li>
</ol>

<h3>2. Identification of the specific URL(s)</h3>

<p>Please include the URL(s) of the exact video(s) or we will be unable to reinstate them. The URL
should be in the following format: www.youtube.com/watch?v=xxxxxxxxxxx.</p>

<p>Your counter notification must include specific links to the material that has been removed or
disabled. General information about the video, such as a channel URL or username, is not adequate.</p>

<p><em>Only include the URLs you are submitting a counter notification for. </em></p>

<h3>3. You must agree to and include the following statement:</h3>

<p>"I consent to the jurisdiction of the Federal District Court for the district in which my address is
located, or if my address is outside of the United States, the judicial district in which YouTube is located,
and will accept service of process from the claimant."</p>

<h3>4. And the following statement:</h3>

<p>"I swear, under penalty of perjury, that I have a good faith belief that the material was removed or
disabled as a result of a mistake or misidentification of the material to be removed or disabled."</p>

<h3>5. Your signature</h3>

<p>Complete counter notifications require your physical or electronic signature, or the signature of a
representative authorized to act on your behalf, such as an attorney. To satisfy this requirement, you may
type your full legal name (a first and last name, not a company name) to act as your signature at the
bottom of your request.</p>

<p>&nbsp;</p>

<p><em>You may <a href="https://support.google.com/youtube/answer/6005908">submit these
requests</a> via email, postal mail, or fax, being sure to include the requirements above.</em></p>
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<p><em>Please
 <p><em>Please submit
                 submit separate
                        separate counter
                                 counter notifications
                                         notifications for
                                                       for URLs
                                                           URLs on
                                                                on multiple
                                                                   multiple YouTube
                                                                            YouTube channels.
                                                                                    channels.
​& nbsp;</em></p>
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<p>&nbsp;</p>
